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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 9:22cv80030

   AFFORDABLE AERIAL PHOTOGRAPHY, INC.,

          Plaintiff,

   v.

   NICKOLAS L. DITOMMASO,

          Defendant.



                                              COMPLAINT

         Plaintiff Affordable Aerial Photography, Inc. (“Plaintiff”) sues defendant Nickolas L.

  Ditommaso (“Defendant”), and alleges as follows:

                                             THE PARTIES

         1.      Plaintiff is a corporation organized and existing under the laws of the State of

  Florida with its principal place of business located in Indian River County, Florida.

         2.      Defendant is an individual who is a citizen of Florida residing at 11170 Thyme

  Drive, Palm Beach Gardens, Florida 33418.

                                   JURISDICTION AND VENUE

         3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

  1331 and 1338(a).

         4.      This Court has personal jurisdiction over Defendant because he has maintained

  sufficient minimum contacts with Florida such that the exercise of personal jurisdiction over him

  would not offend traditional notions of fair play and substantial justice. Further, Defendant is a

  licensed realtor in this State since 2014 and, upon information and belief, owns real property in


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  this State.

          5.      Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a) because

  Defendant or his agents reside or may be found in this district. “In other words, ‘if a court has

  personal jurisdiction over the defendants in a copyright infringement action, venue in that court’s

  district is proper.’” McGregor v. In Tune Music Grp., No. 15-62044-CIV-ZLOCH, 2016 U.S.

  Dist. LEXIS 190302, at *11 (S.D. Fla. July 29, 2016) (quoting Store Decor Div. of Jas Int'l, Inc.

  v. Stylex Worldwide Indus., Ltd., 767 F. Supp. 181, 185 (N.D. Ill. 1991).

                                                   FACTS

  I.      Plaintiff’s Business and History

          6.      Plaintiff was created as a Florida corporation in June 2005.            Plaintiff’s sole

  shareholder is Robert Stevens.

          7.      For the past sixteen (16) years, Mr. Stevens has been employed by Plaintiff as a

  high-end real estate photographer who specializes in aerial photography, stunning exterior and

  interior shots, as well as offering slide shows, virtual tours, and a full array of stock photography

  for luxury real estate industries.

          8.      Mr. Stevens is a pioneer of aerial real estate photography and has been engaging in

  creative and artistic means to capture such photographs long before today’s proliferation of

  consumer drone technology came to market.

          9.      Mr. Stevens travels throughout the State of Florida, nationally, and internationally

  to photograph high-end real estate on behalf of Plaintiff’s clients. He has been contracted by over

  280 clients to take professional photographs of various real estate projects, including but not

  limited to the estates of numerous celebrities (such as Madonna, Don King, Greg Norman, Rod

  Stewart, Ivana Trump, James Patterson, Alexander Haig, Ann Downey, Frank McKinney, Chris


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  Evert, and others).

         10.     Plaintiff maintains a commercial website (www.robertstevens.com) which

  describes the photography services offered by Plaintiff, hosts a sample portfolio of photographs

  taken by Mr. Stevens, and invites prospective customers to contact Plaintiff to arrange for a

  professional photo shoot.

         11.     Plaintiff owns the photographs taken by Mr. Stevens and serves as the licensing

  agent with respect to licensing such photographs for limited use by Plaintiff’s customers. To that

  end, Plaintiff’s standard terms include a limited, one-time license for use of any particular

  photograph by the customer only. Plaintiff’s license terms make clear that all copyright ownership

  remains with Plaintiff and that its customers are not permitted to transfer, assign, or sub-license

  any of Plaintiff’s photographs to another person/entity.

         12.     Generally, at the time Plaintiff creates its professional photography, it applies

  copyright management information to such photography consisting of “© AAP [year] all rights

  reserved” to the bottom left corner thereof. Plaintiff does this for added protection/assurance to

  keep unauthorized persons from utilizing/displaying Plaintiff’s work.

  II.    The Work at Issue in this Lawsuit

         13.     In 2009, Plaintiff created a photograph titled “West Palm Beach skyline C 2009

  AAP, Oct. 24, 2009” (the “Work”). Consistent with Plaintiff’s general practices, the Work contains

  (in the bottom left corner) Plaintiff’s copyright management information as follows: “© AAP 2009

  all rights reserved.” A copy of the Work is exhibited below.




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            14.   The Work was registered by Plaintiff with the Register of Copyrights on July 7,

  2015 and was assigned Registration No. VA 1-967-719. A true and correct copy of the

  Certification of Registration pertaining to the First Photograph is attached hereto as Exhibit “A.”

            15.   Plaintiff is the owner of the Work and has remained the owner at all times material

  hereto.

  III.      Defendant’s Unlawful Activities

            16.   Defendant is a realtor whose business primarily lies in Palm Beach County, FL.

            17.   Realtor.com is the second most visited real estate listings website in the United

   States (with Zillow.com being the first most visited). Realtors (such as Defendant) utilize

   Realtor.com to advertise/market their services and listings published to the Multiple Listing

   Service (the “MLS”).

            18.   Defendant       maintains        a       profile     page       on      Realtor.com   (at

   https://www.realtor.com/realestateagents/56c34198bb954c01006bd18a) which provides his

   professional background, a profile image at the top of the page, and his contact information (and

   also provides a contact form for purposes of contacting Defendant). All content on the profile

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   page – including the image at the top of the page – was published by Defendant by logging into

   his Realtor.com account and providing updates/changes thereto.

          19.    On a date after Plaintiff’s aforementioned registration of the Work, Defendant

   published the Work as the main profile image on his Realtor.com profile page (at

   https://www.realtor.com/realestateagents/56c34198bb954c01006bd18a):




          20.    A true and correct copy of screenshots of Ditommaso’s Website, displaying the

   copyrighted Work, is attached hereto as Exhibit “B.”

          21.    Defendant has not and has never been licensed to use or display the Work.

   Defendant never contacted Plaintiff to seek permission to use the Work in connection with his

   Realtor.com profile page or for any other purpose.

          22.    Defendant utilized the Work for commercial use – namely, in connection with the

   marketing of his real estate services.

          23.    Upon information and belief, Defendant located a copy of the Work on the internet

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   (most likely associated with a prior MLS listing for a real estate agency that did contract with

   Plaintiff) and, rather than contact Plaintiff to secure a license, simply copied the Work for use in

   marketing his own real estate services.

          24.    Through its ongoing diligent efforts to identify unauthorized use of its photographs,

  Plaintiff discovered Defendant’s unauthorized use/display of the Work in October 2021.

  Following Plaintiff’s discovery, Plaintiff notified Defendant in writing of such unauthorized use.

  To date, Plaintiff has been unable to negotiate a reasonable license for the past infringement of its

  Work.

          25.    All conditions precedent to this action have been performed or have been waived.

                           COUNT I – COPYRIGHT INFRINGEMENT

           26.   Plaintiff re-alleges and incorporates paragraphs 1 through 25 as set forth above.

           27.   The Work is an original work of authorship, embodying copyrightable subject

   matter, that is subject to the full protection of the United States copyright laws (17 U.S.C. § 101

   et seq.).

           28.   Plaintiff owns a valid copyright in the Work, having registered the Work with the

   Register of Copyrights and owning sufficient rights, title, and interest to such copyright to afford

   Plaintiff standing to bring this lawsuit and assert the claim(s) herein.

           29.   As a result of Plaintiff’s reproduction, distribution, and public display of the Work,

   Defendant had access to the Work prior to his own reproduction, distribution, and public display

   of the Work on the Websites.

           30.   Defendant reproduced, distributed, and publicly displayed the Work without

   authorization from Plaintiff.

           31.   By his actions, Defendant infringed and violated Plaintiff’s exclusive rights in

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   violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing, and publicly

   displaying the Work for Defendant’s own commercial purposes.

          32.      Defendant’s infringement was willful as he acted with actual knowledge or reckless

   disregard for whether his conduct infringed upon Plaintiff’s copyright.

          33.      Defendant is a licensed realtor and broker in the State of Florida and clearly

   understands that high-end real estate photography is generally paid for and cannot simply be

   copied from the internet/some other broker’s MLS listing.

          34.      Plaintiff has been damaged as a direct and proximate result of Defendant’s

   infringement.

          35.      Plaintiff is entitled to recover its actual damages resulting from Defendant’s

   unauthorized use of the Work and, at Plaintiff’s election (pursuant to 17 U.S.C. § 504(b), Plaintiff

   is entitled to recover damages based on a disgorgement of Defendant’s profits from infringement

   of the Work, which amounts shall be proven at trial.

          36.      Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

   pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

          37.      Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its costs and

   attorneys’ fees because of Defendant’s conduct.

          38.      Defendant’s conduct has caused, and any continued infringing conduct will

   continue to cause irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no

   adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent

   injunction prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

         WHEREFORE, Plaintiff demands judgment against Defendant as follows:

     a. A declaration that Defendant has infringed Plaintiff’s copyrights in the Work;

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     b. A declaration that such infringement is willful;

     c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

         Plaintiff’s election, an award of statutory damages for willful infringement up to

         $150,000.00 for each infringement of the Work;

     d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

     e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

     f. Permanently enjoining Defendant, his employees, agents, officers, directors, attorneys,

         successors, affiliates, subsidiaries and assigns, and all those in active concert and

         participation with Defendant Defendant, from directly or indirectly infringing Plaintiff’s

         copyrights or continuing to display, transfer, advertise, reproduce, or otherwise market any

         works derived or copied from the Work or to participate or assist in any such activity; and

     g. For such other relief as the Court deems just and proper.

                                         Demand For Jury Trial

  Plaintiff demands a trial by jury on all issued so triable.

  Dated: -DQXDU\ , 202.


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                                           Exhibit “A”
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